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                            UNITED STATES DISTRICT COURT

                            MIDDLE DISTRICT OF LOUISIANA


JANE DOE NO. 1, et al.                                               CIVIL ACTION


VERSUS                                                               NO. 21-564-SDD-SDJ


BOARD OF SUPERVISORS                                                CONSOLIDATED WITH
OF LOUISIANA STATE                                                  NO. 21-cv-647-SDD-SDJ
UNIVERSITY AGRICULTURAL
AND MECHANICAL COLLEGE


                                            ORDER

       The parties jointly filed a Motion to Continue (R. Doc. 50) all deadlines set by the February

16, 2022 Scheduling Order (R. Doc. 27), including the May 23, 2023 trial date. The parties also

ask the Court to set another scheduling conference so that an entirely new scheduling order may

be issued. The only reason provided in the Motion to Continue, which is comprised of a single

paragraph, is this:

       A continuance is necessary because the current deadline for completing all
       discovery and filing all discovery motions is September 15, 2022, approximately
       11 weeks away. All parties agree that additional time is needed to conduct
       discovery, locate experts, etc.

(R. Doc. 50 at 1).

       The good cause standard of Rule 16(b)(4) and the requirements of this Court’s Scheduling

Order (R. Doc. 27 at 2-3) are not met. The parties should already be familiar with the standard for

good cause, and the Court will not (and should not) take the time to explain it. The parties should

review cases interpreting Rule 16(b)(4), in addition to the explicit requirements outlined in the

Scheduling Order (R. Doc. 27 at 2-3), before filing any future requests for extensions. Therefore,
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IT IS ORDERED that the parties’ joint Motion to Continue (R. Doc. 50) is DENIED.

Signed in Baton Rouge, Louisiana, on July 7, 2022.




                                          S
                                    SCOTT D. JOHNSON
                                    UNITED STATES MAGISTRATE JUDGE
